Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 1 of 12 PageID# 2191




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

  UNITED STATES OF AMERICA,

  v.                                                            Criminal Action No. 3:16CR18

  DAYMONT UNDERWOOD,

         Petitioner.

                                    MEMORANDUM OPINION

         Daymont Underwood, a federal inmate proceeding pro se, filed this 28 U.S.C. § 2255

  Motion (“§ 2255 Motion,” ECF No. 123). Underwood demands relief upon the following

  grounds: 1

         Claim One:              “Ineffective Assistance of Counsel/Attorney Misrepresentation by
                                 Rob Wagner, Craig Sampson, and Patricia Nagel.” (Id. at 4.)

         Claim Two:              “United States Lack of Jurisdiction.” (Id. at 5.)

         Claim Three:            “Fourth Amendment violation/Fruits of poisonous tree doctrine.
                                 District Court indicted Defendant with illegal evidence.” (Id. at 7.)

         Claim Four:             “District Court over-sentenced Defendant.” (Id. at 8.)

         Claim Five:             “Tenth Amendment Claim.” 2 (Id. at 21.)

  The United States filed its response in opposition. (ECF No. 126.) Underwood did not file a

  reply and the time to do so has expired. 3


         1
            The Court employs the pagination assigned by the CM/ECF docketing system to the
  parties’ submissions. The Court corrects the capitalization and punctuation in the quotations
  from Underwood’s submissions.
         2
            “The powers not delegated to the United States by the Constitution, nor prohibited by it
  to the states, are reserved to the states respectively, or to the people.” U.S. Const. amend. X.
         3
            By Memorandum Order entered on November 19, 2019, the Court warned Underwood
  that if he failed to file a reply, “the Court [would] decide the § 2255 motion based on the record
  before it.” (ECF No. 128, at 1.) Instead of filing a reply, Underwood filed several submissions
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 2 of 12 PageID# 2192




         The matter is ripe for disposition. As explained below, Claims Two through Five are

  barred from review here and Claim One lacks merit.

                           I. Pertinent Factual and Procedural History

         On February 16, 2016, a grand jury returned a one-count Indictment charging Underwood

  with possession of a firearm by a convicted felon. (ECF No. 1, at 1.) The Court appointed

  Robert Wagner, of the Federal Public Defender’s Office, to represent Underwood. On April 25,

  2016, Counsel filed a Motion to Suppress Statements and Evidence. (ECF No. 15.) On June 15,

  2016, Underwood filed a pro se Motion to Dismiss the Indictment (ECF No. 23), and after a

  hearing that same day, the Court permitted Underwood to represent himself with standby counsel

  from that point forward. (ECF No. 22.) During the suppression hearing on July 29, 2016,

  Underwood represented himself with standby counsel. After hearing from the parties, the Court

  denied the Motion to Suppress and Motion to Dismiss from the bench. (ECF Nos. 33, 34.) In

  the August 5, 2016 Order memorializing the bench rulings, the Court warned Underwood:

                 Underwood represented himself during these hearings, rarely seeking input
         from standby counsel. While Underwood has exercised a clear and unequivocal
         waiver of counsel, the Court repeatedly advised him that he faced great peril doing
         so, and that his best interest would be served by seeking the advice of the Federal
         Public Defender. Underwood took several missteps when presenting his case, and
         the Court painstakingly admonished him – repeatedly – that he must follow court
         procedures, rules, and apply correct substantive law.
                 A jury trial is scheduled for August 31, 2016. The Court takes this
         opportunity to admonish Mr. Underwood once again that he faces great peril in self
         representation during the trial. He must follow all court rules, including the Federal
         Rules of Evidence and the Federal Rules of Criminal Procedure. Moreover,
         improper conduct could result in appropriate sanctions. Mr. Underwood is
         admonished that it would be in his best interest to be represented by standby counsel
         – the Federal Public Defender – and to seek advice of counsel in preparing his case.

  (ECF No. 34, at 1–2.)



  that the Court has reviewed but have no bearing on the Court’s resolution of the § 2255 Motion.
  (See ECF Nos. 129, 131, 133.)

                                                   2
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 3 of 12 PageID# 2193




         On August 17, 2016, a grand jury returned a Superseding Indictment against Underwood

  charging him with possession of a firearm by a convicted felon (Count One); possession with the

  intent to distribute a mixture and substance containing a detectible amount of marijuana (Count

  Two); and, possession of a firearm in furtherance of a drug trafficking crime (Count Three).

  (ECF No. 36, at 1–3.) Underwood filed another pro se motion attempting to have the charges

  against him dismissed on the basis that the United States lacked jurisdiction over him. (ECF

  No. 40.) After hearing argument, the Court denied Underwood’s motion in a lengthy

  Memorandum Opinion that detailed his contumacious and obstructionist behavior up to that

  point in the proceedings. (ECF No. 46, at 1–14.) The Court also granted counsel’s motion to

  withdraw as standby counsel, continued the trial date, and ordered Underwood to undergo a

  competency evaluation. (ECF Nos. 45, 48, 49.) The Court appointed Craig Sampson as new

  standby counsel for Underwood.

         On March 30, 2017, the Court conducted a pretrial hearing in anticipation of the jury trial

  scheduled for April 3, 2017, and Underwood represented himself pro se with standby counsel.

  (See ECF No. 68, at 1.) After repeated disturbances, obstructionist behavior, and a refusal to

  comport with the Court’s directives, the Court revoked Underwood’s right to represent himself

  and ordered counsel to represent Underwood from that point forward. (See id. at 1–5.) After a

  three-day trial, a jury convicted Underwood of all three counts. (ECF No. 80, at 1.) On July 14,

  2017, the Court sentenced Underwood to 360 months of incarceration. (ECF No. 98, at 2.)

         Underwood appealed. The United States Court of Appeals for the Fourth Circuit initially

  appointed Craig Sampson to represent Underwood. (ECF No. 100.) Sampson was eventually

  replaced by Patricia Nagel. (See ECF No. 102, at 1.) On appeal, Underwood raised, inter alia,

  Claims Two through Four of his § 2255 motion. United States v. Underwood, 726 F. App’x 945,



                                                  3
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 4 of 12 PageID# 2194




  948–53 (4th Cir. 2018). The Fourth Circuit affirmed Underwood’s convictions and sentences.

  Id. at 953.

                                   II. Claims Barred from Review

          The Court first determines that Claims Two through Four are barred from review in this

  collateral proceeding because Underwood raised them on direct appeal. The Fourth Circuit

  considered his claims and denied them, and no intervening change in the law permits him to

  relitigate these claims here. The Court then determines that because Underwood failed to raise

  his Tenth Amendment Claim, he may not raise it for the first time in this § 2255 proceeding

  absent a showing of cause and prejudice or actual innocence.

          In Claims Two through Four, Underwood once again challenges the jurisdiction of the

  United States and the Court over him (Claim Two), the denial of the suppression motion (Claim

  Three), and the sentence he received (Claim Four). The Fourth Circuit rejected these three

  claims on direct appeal. United States v. Underwood, 726 F. App’x 945, 948–49, 951–53 (4th

  Cir. 2018). As the United States correctly asserts, Defendants are not “allowed to recast, under

  the guise of collateral attack, questions fully considered” by the court on direct appeal.

  Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976). Underwood fails to direct

  the Court to an intervening change in the law that would permit him to relitigate these claims.

  See United States v. Linder, 552 F.3d 391, 396–97 (4th Cir. 2009); see also Boeckenhaupt, 537

  F.2d at 1183. Underwood simply “may not circumvent a proper ruling on [his direct appeal

  claims] by re-raising the same challenge[s] in a § 2255 motion.” Linder, 552 F.3d at 396

  (citations omitted). Accordingly, the Fourth Circuit’s ruling bars collateral review of Claims

  Two through Four. Accordingly, Claims Two through Four will be DISMISSED.




                                                    4
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 5 of 12 PageID# 2195




         In Claim Five, Underwood contends that his conviction and sentence violate the Tenth

  Amendment because the federal Government lacks a general police power and therefore, he

  could not have been prosecuted. The United States correctly points out that because Underwood

  could have raised, but failed to raise, this claim on direct appeal, it is barred from review here,

  absent a showing of cause and prejudice or actual innocence. See Bousley v. United States, 523

  U.S. 614, 622–23 (1998). Underwood has failed to show that cause and prejudice exist to excuse

  his default or that he is actually innocent of his crimes of conviction. Accordingly, Claim Five is

  defaulted and will be DISMISSED. 4

                                III. Ineffective Assistance of Counsel

         In Claim One, Underwood contends that trial and appellate counsel performed deficiently.

  Pursuant to Rule 2(b) of the Rules Governing Section 2255 Proceedings, a petitioner must “state

  the facts supporting each ground” for relief. Rules Governing Section 2255 Proceedings for the

  United States District Courts, R. 2(b). Underwood’s vague, conclusory, and nearly

  incomprehensible claims lack specificity and factual support and fail to establish a claim for

  relief against any of the three attorneys who represented him. See United States v. Dyess, 730

  F.3d 354, 359 (4th Cir. 2013) (citation omitted) (internal quotation marks omitted) (“[V]ague and

  conclusory allegations contained in a § 2255 petition may be disposed of without further

  investigation by the District Court.”); see also Sanders v. United States, 373 U.S. 1, 19 (1963)

  (finding denial of § 2255 motion appropriate where it “stated only bald legal conclusions with no

  supporting factual allegations”). For this reason alone, Claim One may be DISMISSED.




         4
          Similarly, with respect to Claims Two through Four, to the extent that Underwood
  somehow raises a slightly different claim in his § 2255 Motion than that raised on appeal, any
  new aspect would be barred because he could have raised, but failed to raise, this claim on direct
  appeal. See Bousley, 523 U.S. at 622–23.

                                                    5
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 6 of 12 PageID# 2196




          Nevertheless, the Court generously parses through Underwood’s § 2255 Motion and

  attempts to piece together claims on his behalf. See Erickson v. Pardus, 551 U.S. 89, 94 (2007)

  (“A document filed pro se is to be liberally construed, and a pro se complaint, however inartfully

  pleaded, must be held to less stringent standards than formal pleadings drafted by lawyers.”)

  (internal quotation marks and citations omitted). The Court first turns to Underwood’s claims

  against trial counsel.

          A. Trial Counsel

          To demonstrate ineffective assistance of counsel, a convicted defendant must show, first,

  that counsel’s representation was deficient, and second, that the deficient performance prejudiced

  the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). To satisfy the deficient

  performance prong of Strickland, the convicted defendant must overcome the “‘strong

  presumption’ that counsel’s strategy and tactics fall ‘within the wide range of reasonable

  professional assistance.’” Burch v. Corcoran, 273 F.3d 577, 588 (4th Cir. 2001) (quoting

  Strickland, 466 U.S. at 689). The prejudice component requires a convicted defendant to “show

  that there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

  proceeding would have been different. A reasonable probability is a probability sufficient to

  undermine confidence in the outcome.” Strickland, 466 U.S. at 694. In analyzing ineffective

  assistance of counsel claims, it is not necessary to determine whether counsel performed

  deficiently if the claim is readily dismissed for lack of prejudice. Id. at 697.

                  1. Counsel Robert Wagner

          As a preliminary matter, Underwood first devotes several pages to the definition of

  “ineffective assistance” and explains his view of counsel’s role generally in criminal

  proceedings. (ECF No. 123, at 4, 13–14.) With respect to counsel Robert Wagner, Underwood



                                                    6
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 7 of 12 PageID# 2197




  first faults counsel for “try[ing] to coerce and convince [Underwood] to take a plea agreement.” 5

  (Id. at 15–16.) Underwood did not enter into a plea agreement, but instead chose to proceed to

  trial. Accordingly, this allegation is readily dismissed for lack of prejudice to Underwood.

         Next, Underwood claims that counsel never advised Underwood “of any rights or

  options.” (Id. at 16.) Underwood’s allegation is entirely too vague and conclusory to state a

  claim for habeas relief. Accordingly, this statement, lacking factual support, fails to demonstrate

  deficiency of counsel or resulting prejudice. Sanders, 373 U.S. at 19.

         Finally, Underwood vaguely faults counsel for his role in the suppression hearing. (ECF

  No. 123, at 16.) Underwood argues that counsel “refused to present evidence provided by

  [Underwood] . . . proving the traffic offense that led to the discovery of a gun and marijuana, was

  dismissed in state court” during the suppression hearing. (Id. at 16.) The record establishes that

  Underwood clearly and unequivocally waived his right to counsel and was granted permission to

  represent himself at the suppression hearing with the aid of standby counsel. The record also

  establishes that Underwood failed to avail himself of the resource available to him in standby

  counsel during the hearing. (See ECF No. 46, at 8–10; see e.g., ECF No. 56, at 28–29, 50; ECF

  No. 38, at 27–28.) Thus, Underwood alone is at fault for any alleged error during the

  suppression hearing. Counsel cannot be faulted for any error during the suppression hearing.

         Underwood also faults counsel for “refus[ing] to gather evidence like the camera footage

  from the businesses in the area.” (ECF No. 123, at 16.) Underwood fails to demonstrate how

  this camera footage would have had any impact on the suppression hearing, which is fatal to this

  contention, because he fails to demonstrate prejudice. See Strickland, 466 U.S. at 694.


         5
            In the same section of his filing, Underwood contends that United States laws and
  statutes create a “fictional citizenry” and because “the defendant in this case is a fiction, the
  attorney could never converse with the defendant because the defendant is not real.” (Id. at 15.)
  His argument as to attorney Nagel incorporates his previous arguments.

                                                   7
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 8 of 12 PageID# 2198




  Underwood also claims that counsel threatened a potential defense witness and “admitted sharing

  defense strategies with prosecutor stating he is [an] officer of the court and he had a duty to do

  that.” (ECF No, 123, at 16.) Other than these vague allegations, Underwood fails to establish

  how counsel’s purported actions had any impact on the suppression hearing, and therefore,

  resulted in any prejudice to Underwood. Strickland, 466 U.S. at 694. Underwood chose at his

  own peril to represent himself on the suppression motion, and he cannot now blame counsel for

  the result or for failing advance his frivolous theories. Underwood fails to demonstrate that

  counsel rendered deficient performance or any resulting prejudice in his role as standby counsel.

  Accordingly, Underwood’s ineffective assistance of counsel claim with respect to counsel Robert

  Wagner lacks merit and will be DISMISSED.

                 2. Counsel Craig Sampson

         Underwood next faults Craig Sampson because he “failed to answer the same questions

  that were directed to Rob Wagner,” “refused to make the distinction between the defendant/legal

  fiction/artificial person and the natural man, the live flesh and blood sentient man, which is the

  undersigned to the jury,” refused to challenge the jurisdiction of the Court, and “fail[ed] to

  mention they are foreign agents.” (ECF No. 123, at 16, 17.) As explained to Underwood

  repeatedly before, these arguments are frivolous. See United States v. Daymont Underwood, No.

  3:16cr18, 2016 WL 6406215, at *9 (E.D. Va. Oct. 27, 2016) (quoting prior transcripts and orders

  and observing that “the Court has already ruled, multiple times, that it has jurisdiction to try

  Underwood’s criminal case”). The Court specifically found prior to trial that “[d]espite

  Underwood’s mantra that jurisdiction can be raised at any time, jurisdiction cannot be raised in

  this trial court anymore.” Id. (emphasis in original). Counsel cannot be faulted for failing to




                                                    8
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 9 of 12 PageID# 2199




  raise these arguments before the jury. Thus, Underwood establishes no deficiency of counsel or

  any resulting prejudice.

         Underwood also suggests that counsel “refused to ask rebuttal questions to contest the

  validity of witnesses and expert testimonies.” (ECF No. 123, at 17.) As his only example,

  Underwood takes issue with the fact that a witness, Evalina Laboy, 6 “testified she purchased

  marijuana from [Underwood] 70 times” but “Craig Sampson refused to direct the jurors’

  attention to the exhibit of the call log showing that the testimony was false and the record merely

  showed the witness attempting to purchase on one occasion . . . .” (Id.)

         Laboy testified that she and her cousin purchased small amounts of marijuana from

  Underwood “[f]our to times a week” between May and October 2015, for a total of

  approximately fifty to seventy transactions. (ECF No. 112, at 267–68.) Laboy explained that

  she would call or text Underwood and then meet him. (ECF No. 112, at 269.) The United States

  entered copies of a call log of text messages between Underwood and Laboy and asked Laboy

  about two different days as examples of transactions between the two. (ECF No. 112, at 272–

  277.) Counsel questioned Laboy about how many times she made the actual exchange of money

  for drugs with Underwood as opposed to her cousin and asked her about the text messages

  between herself and Underwood. (ECF No. 112, at 280–85.) The jury found Laboy’s testimony

  credible. Underwood fails to demonstrate what counsel could have asked Laboy further to

  discredit her testimony.

         Underwood also fails to show that directing the jury’s attention to the call log in an effort

  to undermine Laboy’s testimony would have aided Underwood’s defense. Underwood’s phone

  contained a “multitude of text messages” sent to large groups of people advertising marijuana


         6
         The Court corrects the spelling of Ms. Laboy’s name as reflected in the trial transcript.
  (ECF No. 112, at 263.)

                                                   9
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 10 of 12 PageID# 2200




  and related to drug exchanges, indicating that Underwood sold marijuana to more people than

  just Laboy. (ECF No. 112, at 229, 236, 240–45.) Thus, Underwood fails to demonstrate any

  deficiency of counsel or resulting prejudice from counsel’s failure to advance the line of

  questioning Underwood urges here. Accordingly, Underwood’s ineffective assistance of counsel

  claim with respect to counsel Craig Sampson will be DISMISSED.

         B. Appellate Counsel

         “In order to establish a claim that appellate counsel was ineffective for failing to pursue a

  claim on direct appeal, the applicant must normally demonstrate” that appellate counsel

  performed deficiently and that a reasonable probability of a different result exists. Bell v. Jarvis,

  236 F.3d 149, 164 (4th Cir. 2000) (citing Strickland, 466 U.S. at 688, 694). Counsel had no

  obligation to assert all non-frivolous issues on appeal. Rather, “‘winnowing out weaker

  arguments on appeal and focusing on’ those more likely to prevail, far from being evidence of

  incompetence, is the hallmark of effective appellate advocacy.” Smith v. Murray, 477 U.S. 527,

  536 (1986) (quoting Jones v. Barnes, 463 U.S. 745, 751–52 (1983)). A presumption exists that

  appellate counsel “decided which issues were most likely to afford relief on appeal.” Bell, 236

  F.3d at 164 (quoting Pruett v. Thompson, 996 F.2d 1560, 1568 (4th Cir. 1993)). “[O]nly when

  ignored issues are clearly stronger than those presented, will the presumption of effective

  assistance of counsel be overcome.” Id. (quoting Smith v. Robbins, 528 U.S. 259, 288 (2000)). .

         With respect to appellate counsel, at most, Underwood states: “As for Patricia Nagel, all

  of the above applies to her as well, only she acted on her own without conversing with the

  undersigned.” (ECF No. 123, at 17–18.) The record contradicts Underwood’s claim that he did

  not converse with appellate counsel. Nagel must have discussed with Underwood the issues to

  raise on appeal as she raised his frivolous jurisdiction claim, see United States v. Underwood,



                                                   10
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 11 of 12 PageID# 2201




  726 F. App’x 945, 948 (4th Cir. 2018), and also raised various challenges to his suppression

  motion and sentence that Underwood raises again in the instant § 2255 Motion. See id. at 949,

  951–53. Moreover, Underwood fails to identify any issue that he wished for counsel to raise that

  is stronger than the issues she presented on appeal. See Bell, 236 F.3d at 164. Underwood

  demonstrates neither deficiency or appellate counsel nor resulting prejudice. Accordingly,

  Underwood’s ineffective assistance of counsel claim with respect to counsel Patricia Nagel will

  be DISMISSED.

         In sum, the record reflects that trial and appellate counsel admirably represented or

  assisted as standby counsel for an extraordinarily difficult client. Underwood’s assertions to the

  contrary lack merit. Because Underwood fails to demonstrate any deficiency of his three

  attorneys or resulting prejudice, Claim One lacks merit and will be DISMISSED.

                                           III. Conclusion

         Underwood’s claims and the action will be DISMISSED. The § 2255 Motion (ECF

  No. 123) will be DENIED. Underwood’s Motion to Dismiss Counsel of Record (ECF No. 132)

  is frivolous and will be DENIED.

         An appeal may not be taken from the final order in a § 2255 proceeding unless a judge

  issues a certificate of appealability (“COA”). 28 U.S.C. § 2253(c)(1)(B). A COA will not issue

  unless a prisoner makes “a substantial showing of the denial of a constitutional right.” 28 U.S.C.

  § 2253(c)(2). This requirement is satisfied only when “reasonable jurists could debate whether

  (or, for that matter, agree that) the petition should have been resolved in a different manner or




                                                   11
Case 3:16-cr-00018-MHL-RCY Document 134 Filed 05/05/21 Page 12 of 12 PageID# 2202




  that the issues presented were ‘adequate to deserve encouragement to proceed further.’” Slack v.

  McDaniel, 529 U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4

  (1983)). Underwood has not satisfied this standard. A certificate of appealability will be

  DENIED.

         An appropriate Order shall accompany this Memorandum Opinion.


                                                                                     /s/
                                                                                     /s
                                                                                      s/
                                                                                     /s/
                                                              M.. Hannah
                                                              M   Haann
                                                                  H    n aahh L
                                                                              Lauck
                                                                                aucck
                                                                                au  k
                                                              United
                                                              Un
                                                               niitteed
                                                                      dSStates   District
                                                                         tattees D
                                                                         ta      Diisttriict JJudge
                                                                                               udge
  Date: May 5, 2021
  Richmond, Virginia




                                                 12
